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 7
 8                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9
10   ORLANDO GARCIA,                          ) Case No.: 3:21-cv-06341-AGT
                                              )
11          Plaintiff,                        )
                                              ) NOTICE OF SETTLEMENT AND
       v.                                     ) REQUEST TO VACATE ALL
12
     R-GO CORPORATION, a California           ) CURRENTLY SET DATES
13   Corporation                              )
                                              )
14          Defendants.                       )
                                              )
15                                            )
                                              )
16                                            )
          The plaintiff hereby notifies the court that a provisional settlement has been
17
     reached in the above-captioned case. The Parties would like to avoid any additional
18
     expense while they focus efforts on finalizing the terms of the settlement and reducing it
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     to a writing.
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            The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
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     dates with the expectation that the settlement will be consummated within the coming
22
     sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
23
     parties to be filed.
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26
     Dated: April 4, 2022             By: /s/ Amanda Seabock
27                                          Amanda Seabock
28                                          Attorney for Plaintiff


     Notice of Settlement             -1-               3:21-cv-06341-AGT
